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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                         Case No.: 16-cv-22482-SCOLA/OTAZO-REYES


  CATHERINE PAPASAN, et al., and all
  persons similarly situated,

         Plaintiffs,

  v.

  DOMETIC CORPORATION, a Delaware
  Corporation,
         Defendant.



       JOINT STIPULATION TO DISMISS CLAIMS OF PAPASAN PLAINTIFFS ONLY
                               WITH PREJUDICE

         Plaintiffs Timothy Cherry, Paula Meurer, Nelson and Margorie Goehle, Jill and Sid

  Garrett, Richard Landsheft, Christopher Johnston, Andrew Young, Gary Graus, Gwendolyn and

  Louis King, and Richard and Leah Vollberg (hereinafter the “Papasan Plaintiffs”), and

  Defendant Dometic Corporation (“Dometic”, and together with the Papasan Plaintiffs, the

  “Parties”), by and through the undersigned counsel, hereby stipulate and agree to the resolution

  and dismissal of all of the Papasan Plaintiffs’ remaining claims in this lawsuit, as follows,

  pursuant to Fed. R. Civ. P. 41 and any other applicable rule of procedure.

         1.      The claims of the Papasan Plaintiffs (Timothy Cherry, Paula Meurer, Nelson and

  Margorie Goehle, Jill and Sid Garrett, Richard Landsheft, Christopher Johnston, Andrew Young,

  Gary Graus, Gwendolyn and Louis King, and Richard and Leah Vollberg) shall be dismissed,

  with prejudice, pursuant to Fed.R.Civ.P. 41(a)(1)(A)(ii), 41(a)(2) and/or any other applicable

  rule of procedure.

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         2.      The parties agree to bear their own fees and costs incurred in the above-entitled

  action, and to waive any fee and/or cost claim against each other.

         3.      The parties agree that the effectiveness of this stipulation of dismissal is

  conditioned upon the Court’s entry of an order retaining jurisdiction to enforce the terms of the

  parties’ settlement agreement.

  Dated: November 10, 2022


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                                 CERTIFICATE OF SERVICE


         I HEREBY CERTIFY that a true and correct copy of the foregoing was served via the
  Federal Court’s CM/ECF Filing System on all counsel or parties of record on November 10, 2022.




                                                    /s/ Seth Miles
                                                    Seth Miles




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